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                                    6
                                        Attorneys for Plaintiff and the Class
                                    7
                                    8                               UNITED STATES DISTRICT COURT
                                    9                            NORTHERN DISTRICT OF CALIFORNIA
                                   10
1999 Harrison Street, 18th Floor




                                   11    CHRISTOPHER SAMPINO, on behalf of                 CASE NO.: 4:16-CV-07198-JSW
     Oakland, CA 94612




                                         himself, all others similarly situated, and the
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                                   12
       (415) 362-1111




                                         general public,
                                                                                           NOTICE OF MOTION AND MOTION
                                   13                                                      FOR FINAL APPROVAL OF CLASS
                                                                 Plaintiff,                ACTION SETTLEMENT;
                                   14                   vs.                                MEMORANDUM OF POINTS AND
                                   15                                                      AUTHORITIES IN SUPPORT OF
                                         VERSACE USA, INC., a New York                     MOTION FOR FINAL APPROVAL OF
                                   16    corporation, and DOES 1 through 100,              CLASS SETTLEMENT
                                         inclusive,
                                   17
                                                                                           Date: August 16, 2019
                                   18                                                      Time: 9:00 a.m.
                                                              Defendants.
                                                                                           Judge: Hon. Jeffrey S. White
                                   19
                                                                                           Court: Ctrm. 5, 2nd Floor
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                                    1   TO THE COURT, ALL INTERESTED PARTIES, AND THEIR ATTORNEYS OF

                                    2   RECORD:

                                    3          YOU ARE HEREBY NOTIFIED THAT on August 16, 2019 at 9:00 a.m., in Courtroom

                                    4   5 on the 2nd floor of this Court, located at 1301 Clay Street, Oakland, CA 94612, Plaintiffs

                                    5   Christopher Sampino, Joshua Gallegos, and Michael Gonzalez, individually, and on behalf of all

                                    6   others similarly situated, will and hereby do move for an order granting final approval to the

                                    7   settlement of claims as set forth in the Class Settlement Agreement and Addendum to Class

                                    8   Settlement Agreement (“Agreement” or “Settlement”) in the above-captioned matter.

                                    9          This motion is made on the grounds that the Settlement is fair, adequate, and reasonable

                                   10   given the relative strengths and weaknesses of the claims and defenses; the amount offered in the
1999 Harrison Street, 18th Floor




                                   11   Settlement; the risks of further litigation; the experience and views of counsel; the lack of
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                                   12   objections to the Settlement; and the public policy in favor of quieting litigation. This motion is
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                                   13   based upon the Notice, the accompanying Memorandum of Points and Authorities, the

                                   14   concurrently filed Declaration of Leonard Emma and exhibits thereto, the anticipated Declaration

                                   15   of the Settlement Administrator, the complete files and records of this action, and any further

                                   16   briefing, documentary evidence, and arguments of counsel as may be presented to the Court at

                                   17   the hearing of this motion.

                                   18                                                 Respectfully Submitted,
                                   19
                                        Dated: April 8, 2019                          EMMA LAW, P.C.
                                   20
                                   21                                                 /s/ Leonard Emma
                                                                                      _________________________________________
                                   22                                                 Leonard Emma, Esq.
                                                                                      Attorneys for Plaintiffs and the Class
                                   23
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                                    1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                    2   I.      INTRODUCTION

                                    3           Christopher Sampino, Joshua Gallegos, and Michael Gonzalez, individually, and on behalf

                                    4   of all others similarly situated, (“Plaintiffs” or “Class Representatives”) and Defendant Versace

                                    5   USA, Inc. (“Defendant” and/or “Versace”) (collectively, the “Parties”) moved this Court for

                                    6   preliminary approval of a proposed class settlement of this matter on October 5, 2018 (Dkt. No.

                                    7   54.) (“Motion for Preliminary Approval”). On December 17, 2018, the Court issued an order

                                    8   directing the parties to submit supplemental briefing and submissions. (Dkt. No. 59.) On January

                                    9   17, 2019, the Parties submitted supplemental briefing and submissions. (Dkt. No. 60.) On

                                   10   January 23, 2019, the Court entered an order granting preliminary approval to the Settlement 1 and
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                                   11   certified the following Class:
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                                   12
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                                                All individuals who Versace employed in the State of California in a retail salesperson
                                                position from November 16, 2012 to September 21, 2018.
                                   13
                                                (Dkt. 61 (“Order Granting Preliminary Approval”).)
                                   14
                                   15           In accordance with the terms of the Settlement and the Court’s Order Granting Preliminary

                                   16   Approval, Analytics Consulting, LLC (the “Settlement Administrator), mailed the Court-

                                   17   approved Notice of Class Action Settlement and Release of Clams (the “Notice”) to 96 Class

                                   18   Members on February 21, 2019. The Notice provides a 60-day period for Class Members to opt-

                                   19   out or object. Class Members are not required to submit a claim form to participate in the

                                   20   Settlement. As of April 5, 2019, zero Class Members have opted-out of the Settlement. As of

                                   21   April 5, 2019, zero Class Members have objected to the Settlement. Of the 96 Notices that were

                                   22   originally sent out, four were undeliverable.     New addresses were found for these four Class

                                   23   Members and their Notices were remailed to the new addresses. 2 (Emma Decl. ¶ 2.)

                                   24   1
                                          The Class Settlement Agreement and Addendum to Class Settlement Agreement may be found
                                   25   at Dkt. Nos. 54-2 and 60-1, respectively.
                                        2
                                          After the opt-out period expires on April 22, 2019, Plaintiffs will submit a Declaration from the
                                   26   Settlement Administrator setting forth the details and final results of the Notice procedure.
                                        Plaintiffs may also submit a Supplemental Declaration of Leonard Emma, if appropriate. (Emma
                                   27
                                        Decl. ¶ 2.)
                                   28
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                                    1          Plaintiffs hereby move the Court for an order granting final approval to the Settlement.

                                    2   This motion is made on the grounds that the Settlement is fair, adequate, and reasonable given

                                    3   the relative strengths and weaknesses of the claims and defenses; the risks, expense, complexity

                                    4   and likely duration of further litigation; the amount offered in settlement; the experience and

                                    5   views of counsel; the lack of opt-outs to the Settlement; the lack of objections to the Settlement;

                                    6   and the public policy in favor of quieting litigation. (Emma Decl. ¶ 3.)

                                    7   II.    CASE BACKGROUND

                                    8          A.      The Parties

                                    9          Defendant Versace USA, Inc., is a well-known luxury retailer that operates clothing

                                   10   boutiques worldwide, including at a handful of locations within California. In 2016, Plaintiff
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                                   11   Christopher Sampino was employed by Versace as a retail salesperson at its Livermore outlet
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                                   12   location. Plaintiff Joshua Gallegos worked at the Livermore outlet location from approximately
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                                   13   mid-2016 to mid-2017. Plaintiff Michael Gonzalez worked at Versace’s Beverly Center store as

                                   14   a sales associate from approximately October 2016 to April 2017. (Emma Decl. ¶ 4.)

                                   15          B.      The Pleadings

                                   16          On November 16, 2016, Plaintiff Sampino filed this action against Versace. Sampino
                                   17   asserts various wage and hour claims under California law, including the following: (1) Failure
                                   18   to Compensate for All Hours Worked; (2) Failure to Provide Meal and Rest Periods (Cal. Lab.
                                   19   Code §§ 226.7, 512); (3) Failure to Maintain Accurate Records (Cal. Lab. Code §§ 1174, 1174.5);
                                   20   (4) Failure to Furnish Wage and Hour Statements (Cal. Lab. Code, §§ 226(e), 226.3); (5) Failure
                                   21   to Timely Pay Final Wages (Cal. Lab. Code § 201); and (6) Unfair Competition (Cal. Bus. &
                                   22   Prof. Code § 17200). Sampino also alleges individual claims for Racial Discrimination and
                                   23   Harassment, Failure to Prevent and Investigate Discrimination and Harassment, and Wrongful
                                   24   Termination. On December 13, 2016, Defendant Versace filed its Answer, denying all claims
                                   25   and asserting affirmative defenses. (Emma Decl. ¶ 5.)
                                   26          On April 19, 2017, Plaintiff Sampino filed a First Amended Complaint (“FAC”). The
                                   27   FAC clarified that the claims for Racial Discrimination and Harassment, Failure to Prevent and
                                   28
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                                    1   Investigate Discrimination and Harassment, and Wrongful Termination were individual claims

                                    2   asserted on behalf of Plaintiff Sampino only. (Emma Decl. ¶ 6.)

                                    3          On June 5, 2018, Plaintiff Sampino filed a Motion for Leave to File a Second Amended
                                    4   Complaint (“SAC”). The proposed SAC added additional class representatives (Plaintiffs Joshua
                                    5   Gallegos and Michael Gonzalez), a class reimbursement claim (Cal. Lab. Code §§ 406, 2802),
                                    6   and Plaintiff Gallegos’ individual claims. The proposed SAC also modified the allegations
                                    7   regarding the exhaustion of administrative remedies under PAGA so that they were made on
                                    8   behalf of all three Plaintiffs. Plaintiff’s Motion for Leave was fully briefed at the time the Parties
                                    9   resolved this matter and filed a Joint Notice of Settlement. (Dkt. No. 50.) As part of the
                                   10   Settlement, the Parties agreed to resolve the claims set forth in the proposed SAC. The SAC was
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                                   11   filed on October 10, 2018. (Dkt. No. 56.) (Emma Decl. ¶ 7.)
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                                   12          C.      Investigation and Discovery
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                                   13          Over the course of nearly two years, the Parties conducted extensive written discovery
                                   14   and exchanged detailed information and data concerning the claims, defenses, and alleged
                                   15   damages at issue herein. Class Counsel continuously met and conferred with counsel for Versace
                                   16   to ensure sufficient information had been exchanged to permit evaluation of the claims at issue.
                                   17   For example, Class Counsel obtained the contact information for putative class members and
                                   18   then interviewed them. Class Counsel reviewed thousands of pages of documents produced in
                                   19   response to written discovery requests, including documents pertaining to the policies and
                                   20   practices complained of herein. Class Counsel engaged an expert statistician to analyze class-
                                   21   wide time and pay records to ascertain the types and frequency of violations. Class Counsel
                                   22   conducted several depositions. (Emma Decl. ¶ 8.)
                                   23          D.      Settlement Negotiations
                                   24          On July 17, 2018, the Parties engaged in a full day of arm’s length negotiations before
                                   25   Mark Rudy, an experienced and well-respected neutral in wage and hour class action litigation.
                                   26   At mediation, the Parties agreed upon the key terms of the Settlement. The Parties later negotiated
                                   27   additional terms and drafted a formal Settlement Agreement, which was presented to this Court for
                                   28
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                                    1   approval. Plaintiffs and Class Counsel believe that the Settlement is fair, reasonable, and

                                    2   adequate and is in the best interest of Class Members in light of all known facts and

                                    3   circumstances, including the defenses asserted by Defendant, the risk of delay, and potential

                                    4   appellate issues. The Parties are represented by competent and experienced wage and hour class

                                    5   action counsel with whom they consulted prior to settling. (Emma Decl. ¶ 9.)

                                    6   III.   DESCRIPTION OF THE SETTLEMENT

                                    7          A.      The Class

                                    8          Plaintiffs bring this action on behalf of all individuals who Versace employed in the State

                                    9   of California in a retail salesperson position from November 16, 2012 to September 21, 2018.

                                   10   (Settlement Section I.) Versace has identified 96 Class Members. (Emma Decl. ¶ 10.)
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                                   11          B.      Consideration
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                                   12          Versace has agreed to pay Three Hundred Thousand Dollars ($300,000.00 USD) (the
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                                   13   “Settlement Amount”). Versace is also responsible for paying the employer’s share of all payroll

                                   14   taxes customarily and ordinarily paid by employers. The payment of these taxes is not included

                                   15   in the Settlement Amount. (Settlement Section II.)

                                   16          C.      Mechanics of Settlement

                                   17          The Net Settlement Amount means that portion of the Settlement Amount to be allocated

                                   18   and made available for payment to Class Members after subtracting: (i) attorneys’ fees, (ii) costs,

                                   19   (iii) enhancement payments, (iv) settlement administration costs, and (v) the PAGA payment to

                                   20   the LWDA. (Settlement Section II.)

                                   21          For each Class Member, the Settlement Administrator shall determine the number or

                                   22   portion of workweeks worked during the Class Period based upon information provided by

                                   23   Versace. Partial weeks will be rounded up to the nearest full week. The sum of the workweeks

                                   24   worked by all Class Members shall be the “Total Workweeks.” The pro-rata share of the Net

                                   25   Settlement Amount to each Class Member will be calculated as follows: (a) The Net Settlement

                                   26   Amount shall be divided by the number of Total Workweeks; the resulting figure is the

                                   27   “Workweek Dollar Value.” (b) For each Class Member, the Settlement Administrator shall

                                   28
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                                    1   multiply the number of workweeks the Settlement Class Member worked during the Class Period

                                    2   by the Workweek Dollar Value. The resulting figure shall be the “Gross Allocated Amount” for

                                    3   each such Class Member. (c) The Gross Allocated Amount was indicated on the Notice sent to

                                    4   each Class Member. (Settlement Section VII.)

                                    5          Because Class Members’ claims include claims for wages, penalties, and interest, (i) 34%

                                    6   of the net payment to each Class Member shall be treated as wages, reported on an IRS form W-

                                    7   2, and (ii) 66% shall be treated as payment for penalties and interest, reported on an IRS Form

                                    8   1099. 3 (Settlement Section II.) Defendant’s share of any payroll taxes owed will be paid

                                    9   separately by Defendant. (Settlement Section II.) Any checks issued to Class Members shall

                                   10   remain negotiable for a period of one hundred eighty (180) days from the date of mailing. Any
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                                   11   checks that remain uncashed after one-hundred eighty (180) days will be voided. The funds
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                                   12   associated with any checks which are not timely negotiated will be deposited to the unclaimed
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                                   13   funds division of the State of California. (Settlement Section VII.)

                                   14          D.      PAGA Allocation

                                   15          The The Settlement allocates Fifteen Thousand Dollars ($15,000.00) to the settlement of

                                   16   Plaintiffs’ PAGA claim on behalf of all Class Members. (Settlement Section II.) Pursuant to the

                                   17   express requirements of Cal. Labor Code § 2699(i), the PAGA Penalty Payment shall be allocated

                                   18   as follows: Eleven Thousand Two Hundred Fifty Dollars ($11,250) (75%) to the LWDA for the

                                   19   enforcement of labor laws and education of employers, and Three Thousand Seven Hundred Fifty

                                   20   Dollars ($3,750) (25%) to be included in the distribution to Class Members. (Settlement Section

                                   21   II.)

                                   22          E.      Class Representative Enhancement Payments

                                   23          Subject to Court approval, the Settlement provides for Enhancement Payments of Two

                                   24   Thousand Dollars ($2,000) each to Class Representatives Sampino, Gallegos, and Gonzalez for

                                   25   3
                                          The $3,750.00 allocated as the employees’ share of the PAGA Allocation, discussed below,
                                   26   shall be deemed penalties and interest or other non-wage recovery and not subject to payroll
                                        taxes.
                                   27
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                                    1   their time, risk, and effort as the representatives of the class. 4 (Settlement Section II.)

                                    2           F.      Attorneys’ Fees and Litigation Costs

                                    3           Class Counsel will seek court approval of, and Versace will not oppose Class Counsel’s

                                    4   request for, Ninety-Nine Thousand, Nine Hundred and Ninety Dollars ($99,990.00),

                                    5   approximately thirty-three percent (33%) of the Maximum Gross Settlement Amount, for

                                    6   reasonable attorneys’ fees to compensate and reimburse Class Counsel for the work already

                                    7   performed by Class Counsel in this case and all of the work remaining to be performed by Class

                                    8   Counsel in securing Court approval of the Settlement and ensuring that the Settlement is fairly

                                    9   administered and implemented, among other ongoing duties that may arise. Class Counsel will

                                   10   also be allowed to apply separately for reimbursement of reasonable litigation costs incurred.
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                                   11   (Settlement Section II). 5
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                                   12           G.      Release of Claims
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                                   13           In exchange for the consideration provided by Defendant, Class Members who do not

                                   14   timely exclude themselves from the settlement will release all claims that were pled or that could

                                   15   have been pled based on the factual allegations asserted. (Settlement Section V.) The Class

                                   16   Representatives stipulate to a broader general release that includes all claims, whether known or

                                   17   unknown, against Versace. (Settlement Section V.)

                                   18           H.      The Court-Approved Notice Program

                                   19           Per the Order Granting Preliminary Approval and the terms of the Settlement, the

                                   20   Settlement Administrator has completed many of its duties. Fees for administration are estimated

                                   21   to be $10,000. 6 (Emma Decl. ¶ 11.)

                                   22           Settlement administration duties included (or will include), inter alia, the following:

                                   23   calculating awards, formatting and mailing the Notice, processing any potential requests for

                                   24   4
                                          Details regarding Plaintiffs’ efforts are set forth in the concurrently filed Motion for Attorneys’
                                   25   Fees, Costs and Class Representative Enhancement Payments.
                                        5
                                          Details regarding Class Counsel’s request for fees and costs are set forth in the concurrently filed
                                   26   Motion for Attorneys’ Fees, Costs and Class Representative Enhancement Payments.
                                        6
                                          As mentioned above, the Settlement Administrator will provide a declaration following the close
                                   27
                                        of the opt-out period setting forth details regarding the work it has performed.
                                   28
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                                    1   exclusion and objections (there are none as of April 5, 2019), performing necessary skip traces

                                    2   on Notices returned as undeliverable mailing Class Member settlement checks, responding to

                                    3   Class Member inquiries as needed, issuing any required tax reporting forms, providing status

                                    4   reports to Counsel for the Parties, hosting a website and phone line for Class Members to obtain

                                    5   more information, and drafting a declaration of compliance with the terms of the Stipulation.

                                    6   (Emma Decl. ¶ 12.)

                                    7          Counsel for Defendant provided the Settlement Administrator with a list containing the

                                    8   Class Member’s names, last known addresses, and other employment information required to

                                    9   process the settlement (the “Class List”). The Class List contained data for 96 Class Members.

                                   10   The mailing addresses contained in the Class List were processed and updated utilizing the
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                                   11   National Change of Address Database (“NCOA”) maintained by the U.S. Postal Service. The
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                                   12   NCOA contains requested changes of address filed with the U.S. Postal Service. In the event that
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                                   13   any individual had filed a U.S. Postal Service change of address request, the address listed with

                                   14   the NCOA would be utilized in connection with the mailing of the Notice. (Emma Decl. ¶ 13.)

                                   15          The Settlement Administrator then mailed the Court-approved Notice to 96 Class

                                   16   Members on February 21, 2019. The Notice provides a 60-day period for Class Members to opt-

                                   17   out or object. Class Members are not required to submit a claim form to participate in the

                                   18   settlement. (Emma Decl. ¶ 14.)

                                   19          I.      Class Members’ Response to the Settlement

                                   20          As of April 5, 2019, zero Class Members have opted-out of the Settlement. As of April

                                   21   5, 2019, zero Class Members have objected to the Settlement. Of the 96 Notices that were

                                   22   originally sent out, four were undeliverable.   New addresses were found for these four Class

                                   23   Members and their Notices were remailed to the new addresses. In addition, Class Counsel has

                                   24   been contacted by several Class Members since the Notices were mailed. Class Counsel is

                                   25   pleased to report that, thus far, Class Members universally support the Settlement. 7 (Emma Decl.

                                   26   7
                                         After the opt-out period expires on April 22, 2019, Plaintiffs will submit a Declaration from the
                                   27   Settlement Administrator setting forth the details and final results of the Notice procedure.

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                                    1   ¶ 15.)

                                    2   IV.      LEGAL ARGUMENT

                                    3            A.     Standard of Review

                                    4            Federal law and public policy strongly favor and encourage settlements, especially in class

                                    5   actions. See Franklin v. Kaypro Corp., 884 F.2d 1222, 1229 (9th Cir. 1989), cert. denied, 498

                                    6   U.S. 890 (1990) (“it hardly seems necessary to point out that there is an overriding public interest

                                    7   in settling and quieting litigation. This is particularly true in class action suits”). When reviewing

                                    8   a motion for approval of a class settlement, the Court should give due regard to “what is otherwise

                                    9   a private consensual agreement negotiated between the parties,” and must therefore limit the

                                   10   inquiry “to the extent necessary to reach a reasoned judgment that the agreement is not the product
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                                   11   of fraud or overreaching by, or collusion between, the negotiating parties, and that the settlement,
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                                   12   taken as a whole, is fair, reasonable and adequate to all concerned.” Officers for Justice v. Civil
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                                   13   Service Comm’n, 688 F.2d 615, 625 (9th Cir. 1982) .

                                   14            To approve a proposed settlement of a class action under Fed. R. Civ. P. 23(e), the Court

                                   15   must find that the proposed settlement is “fair, adequate and reasonable,” recognizing that “it is

                                   16   the settlement taken as a whole, rather than the individual component parts, that must be examined

                                   17   for overall fairness.” Staton v. Boeing Co., 327 F.3d 938, 960 (9th Cir. 2003) (quoting Hanlon v.

                                   18   Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)).                Furthermore, analysis of the

                                   19   appropriateness of approval begins with a presumption of fairness. Where “a proposed class

                                   20   settlement has been reached after meaningful discovery, after arm’s length negotiation conducted

                                   21   by capable counsel, it is presumptively fair.” Bellows v. NCO Fin. Sys., 2008 U.S. Dist. LEXIS

                                   22   103525, *18 (S.D. Cal. Dec. 2, 2008).

                                   23            The presumption of fairness applies here:       As discussed above, Plaintiffs obtained

                                   24   sufficient information permitting them to assess the strengths and value of the case before entering

                                   25   into settlement negotiations. The Settlement was negotiated by capable counsel, using an

                                   26   experienced mediator. In light of these facts, the Settlement is presumptively fair, and, as

                                   27   explained below, all relevant factors support final approval.

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                                    1          B.      All Relevant Factors Weigh in Favor of Final Approval

                                    2          Although Rule 23 provides no precise formula for making this determination, the Ninth

                                    3   Circuit has identified several factors to be considered. These factors include: (1) the strength of

                                    4   the case; (2) the size of the claims and amount offered to settle them; (3) the risk, expense,

                                    5   complexity and likely duration of further litigation; (4) the stage of the proceedings, i.e., whether

                                    6   the plaintiffs and their counsel have conducted sufficient discovery to make an informed decision

                                    7   on settlement; (5) whether the class has been fairly and adequately represented during settlement

                                    8   negotiations by experienced counsel; and (6) the reaction of the class to the proposed settlement.

                                    9   Hanlon, 150 F.3d at 1026 (noting that the relative importance of each of these factors will depend

                                   10   on the circumstances of the case). Here, all factors weigh strongly in favor of final approval.
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                                   11                  1.      The Strength of the Case
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                                   12                          a.      Meal and Rest Period Claims
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                                   13          Plaintiffs contend that Defendant failed to authorize and permit meal and rest periods as

                                   14   required by California law. Specifically, Plaintiffs contend that Defendant (i) did not maintain

                                   15   adequate policies, (ii) did not provide adequate training, and (iii) discouraged Class Members

                                   16   from taking breaks. Plaintiffs contend that this is evidenced by the fact that timekeeping records

                                   17   show many instances of noncompliant meal breaks. Plaintiffs further contend that Defendant

                                   18   failed to pay premiums when breaks were not provided. (Emma Decl. ¶ 16.)

                                   19          Defendant contends that Class Members were authorized and permitted to take meal and

                                   20   rest breaks and that this fact is evidenced by the fact that timekeeping records show that Class

                                   21   Members routinely took compliant meal and rest breaks. Defendant maintains that it is not

                                   22   required to police the workplace to ensure that Class Members actually avail themselves of all

                                   23   meal and rest breaks provided.       Defendant further argues that, as partially commissioned

                                   24   employees, Class Members may sometimes elect to forego a meal or rest period in an effort to

                                   25   earn more commissions. Defendant contends that, in such cases, it cannot be liable because the

                                   26   noncompliant meal or rest period is the result of the voluntary choice of the Class Member and

                                   27   not a result of any failure on its part to authorize or permit meal and rest periods. Defendant’s

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                                    1   arguments may undercut Plaintiffs’ ability to prevail at trial. (Emma Decl. ¶ 17.)

                                    2                         b.      Off-the-Clock and Overtime Claims

                                    3          Plaintiffs contend that Defendant encouraged them to provide sales support to

                                    4   international customers after-hours, and that this work occurred off-the-clock and without

                                    5   compensation (including overtime compensation where applicable). (Emma Decl. ¶ 18.)

                                    6          Defendant contends that it maintained a policy and practice prohibiting class members

                                    7   from working off-the-clock. Defendant contends that, if any class members worked off-the-clock

                                    8   work, it happened without Defendant’s knowledge. Defendant further contends that it was not

                                    9   required to pay overtime wages to class members because they were exempt salespersons. These

                                   10   arguments may undercut Plaintiffs’ ability to prevail at trial. (Emma Decl. ¶ 19.)
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                                   11                         c.      Reimbursement Claim
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                                   12          Plaintiffs contend that, in connection with providing sales support to customers after-
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                                   13   hours, Defendant required Plaintiffs to use their personal cell phones without reimbursement.

                                   14   Defendant contends that a business landline was available at retail store locations and that class

                                   15   members were not required to use their personal cell phones to conduct company business.

                                   16   Defendant further contends that, to the extent that class members used their personal cell phones

                                   17   for company business, it occurred without Defendant’s authorization or knowledge. These

                                   18   arguments may undercut Plaintiffs’ ability to prevail at trial. (Emma Decl. ¶ 20.)

                                   19                         d.      Derivative Claims

                                   20          The class claims for inaccurate wage statements, failure to timely pay final wages, unfair

                                   21   business practices, and PAGA violations are predicated on, and derive from, the underlying wage

                                   22   and hour violations described above. Thus, the risks described above apply to these derivative

                                   23   claims. Defendant further disputes its actions were “willful” and trigger waiting time

                                   24   penalties. Although authority is divided, Defendant also disputes that meal and rest period

                                   25   violations can give rise to waiting time and wage statement claims. Moreover, the Court

                                   26   has virtually unlimited discretion to reduce the amount of penalties under PAGA. This adds

                                   27   significant uncertainty regarding the evaluation of damages for derivative claims, as the Court

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                                    1   may be reluctant to permit duplicative recovery for a single underlying violation. (Emma Decl.

                                    2   ¶ 21.)

                                    3                    2.      The Size of the Claims and Amount Offered to Settle Them

                                    4            Plaintiffs estimate that if the Class were to prevail in all claims at trial, with all factual and

                                    5   legal issues being resolved in the Class’ favor, the potential recovery for the Class would max out

                                    6   at approximately $1,000,000.00, calculated as follows:

                                    7            Meal break claim: $167,400.00 (estimated 5,580 violations at $30 per violation, based on

                                    8   analysis of time and pay records and class member interviews)

                                    9            Rest break claim: $167,400.00 (estimated 5,580 violations at $30 per violation, based on

                                   10   analysis of time and pay records and class member interviews)
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                                   11            Off-the-clock claim: $144,000.00 (one hour of off-the-clock work at $30 per hour every
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                                   12   other week per class member, based on analysis of pay records and class member interviews)
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                                   13            Overtime claim: $65,000.00 (based on analysis of time and pay records)

                                   14            Reimbursement claim: $11,040.00 (based on cell phone reimbursement of $5 per month

                                   15   per full-time employee during class period)

                                   16            Final pay claim: $301,600.00 (based on analysis of time and pay records showing a

                                   17   maximum of 58 terminated class members owed a maximum of $5,200 apiece)

                                   18            Wage statement claim: $148,500.00 (1,517 pay periods at $50 then $100 per pay period,

                                   19   per employee, based on analysis of payroll records)

                                   20            Maximum Potential Recovery for Class: $1,004,940 (Emma Decl. ¶ 22.)

                                   21            Plaintiffs acknowledge that a recovery of this magnitude is uncertain given the risks

                                   22   identified herein and the derivative nature of many of the claims. As discussed above, Defendant

                                   23   contends that it has no liability in this case and that certification for a merits determination would

                                   24   be inappropriate. Class Counsel represents that the proposed settlement of $300,000 is a good

                                   25   result for the Class and certainly a fair, reasonable, and adequate settlement under the

                                   26   circumstances. (Emma Decl. ¶ 23.)

                                   27            Class Counsel further submits the amount allocated to PAGA penalties ($15,000)

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                                    1   is reasonable and should be approved by the Court. There is no articulated standard for

                                    2   approving PAGA settlements. The Court has discretion to award lesser civil penalties

                                    3   under PAGA under section 2699(e)(2) of the Labor Code, and PAGA settlements for as

                                    4   little as $0 have been approved. See Nordstrom Com’n Cases, 186 Cal.App.4th 576, 589

                                    5   (2010) (approving PAGA settlement and release that allocated $0 to PAGA claim). Courts

                                    6   have also approved settlements for $20,000 or less. See, e.g., Hicks v. Toys ‘R’Us–

                                    7   Delaware, Inc., 2014 WL 4703915, at *1 (C.D. Cal. Sept. 2, 2014) (approving $5,000

                                    8   PAGA payment in a case involving $4 million settlement); Williams v. Brinderson

                                    9   Constructors, 2017 WL 490901, at *5 (C.D. Cal. Feb. 6, 2017) ($10,000 PAGA payment

                                   10   in $300,000 settlement). Given the total amount of the proposed settlement, the $15,000
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                                   11   allocation to PAGA represents a meaningful allocation.
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                                   12          Plaintiffs and Class Counsel believe that this recovery sufficiently and fairly compensates
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                                   13   the Class Members, especially as its adequacy must be judged as “a yielding of absolutes and an

                                   14   abandoning of highest hopes…. Naturally, the agreement reached normally embodies a

                                   15   compromise; in exchange for the saving of cost and elimination of risk, the parties each give up

                                   16   something they might have won had they proceeded with litigation….” Officers for Justice, 688

                                   17   F.2d at 624. Accordingly, the Settlement is not to be judged against a speculative measure of

                                   18   what might have been achieved. See, e.g., Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242

                                   19   (9th Cir. 1998). Furthermore, the Court should consider that the Settlement secures for payment

                                   20   to the Class now, rather than a speculative payment many years down the road, if ever. See City

                                   21   of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974).

                                   22                  3.      The Risk, Expense, Complexity, and Likely Duration of Litigation

                                   23          Although a settlement has been reached, Defendant continues to deny any liability or

                                   24   wrongdoing of any kind associated with the claims alleged in the action and further denies that,

                                   25   for any purpose other than settling the action, it is appropriate for class treatment. Thus, even if

                                   26   Plaintiffs were to obtain certification, motions for decertification would likely follow. Similarly,

                                   27   if Plaintiffs were to maintain certification through trial and secure a favorable verdict, an appeal

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                                    1   would likely follow. (Emma Decl. ¶ 24.)

                                    2          Further litigation would not serve the interests of the Class because it would require Class

                                    3   Members to risk receiving nothing at all or a small fraction of what they are receiving pursuant

                                    4   to the Settlement. Further litigation may require each Class Member to offer individualized

                                    5   evidence, and perhaps more importantly, the delay, uncertainty, and litigation costs associated

                                    6   with such efforts would be significant and be without any assurance of recovery. See In re GMC

                                    7   Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 784 (3d Cir. 1995), cert. denied, 516

                                    8   U.S. 824 (1995) (“[T]he law favors settlement, particularly in class actions and other complex

                                    9   cases where substantial judicial resources can be conserved by avoiding formal litigation”).

                                   10   Although Class Counsel believes that Plaintiffs’ claims are meritorious, Class Counsel is
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                                   11   experienced and understands the attendant risks of prolonged litigation and the ever-shifting
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                                   12   landscape of wage and hour jurisprudence. The Settlement affords the Class prompt and
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                                   13   substantial relief while avoiding legal and factual hurdles that could prevent the Class from

                                   14   obtaining any recovery at all. (Emma Decl. ¶ 25.)

                                   15                 4.      The Stage of the Proceedings

                                   16          The stage of the proceedings at which the Settlement was reached also militates in favor

                                   17   of final approval. Over the course of nearly two years, the Parties conducted extensive written

                                   18   discovery and exchanged detailed information and data concerning the claims, defenses, and

                                   19   alleged damages at issue herein. Class Counsel met and conferred with counsel for Versace

                                   20   continuously to ensure sufficient information had been exchanged to permit a thorough evaluation

                                   21   of the claims at issue. For example, Class Counsel obtained the contact information for putative

                                   22   class members and then interviewed them. Class Counsel reviewed thousands of pages of

                                   23   documents produced in response to written discovery requests, including documents pertaining

                                   24   to the policies and practices complained of herein. Class Counsel reviewed time and pay records

                                   25   to ascertain the types and frequency of violations. Class Counsel engaged an expert statistician

                                   26   to analyze class-wide time and pay records to construct a damages model. Class Counsel

                                   27   conducted several depositions. (Emma Decl. ¶ 26.)

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                                    1            Based on the foregoing, Class Counsel was in an excellent position to evaluate the fairness

                                    2   of the Settlement because an extensive investigation was conducted through both formal and

                                    3   informal exchanges of documents and information. Class Counsel submits that the stage of

                                    4   proceedings were sufficiently advanced to permit final approval of the Settlement. (Emma Decl.

                                    5   ¶ 27.)

                                    6                   5.      Experienced Counsel Adequately Represented the Class

                                    7            Class Members have been well-represented by experienced Class Counsel throughout

                                    8   several years of litigation. 8 As discussed above, Class Counsel ensured that investigation,

                                    9   discovery and litigation were sufficiently mature prior to agreeing to mediation. 9 This Settlement

                                   10   is the result of a full day of serious, informed, and non-collusive negotiations before Mark Rudy,
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                                   11   an experienced and well-respected neutral for wage and hour class actions. Class Counsel
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                                   12   maximized recovery, fighting to ensure the terms of any class settlement would be fair and
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                                   13   reasonable. After the key terms of the Settlement were agreed to, Class Counsel continued to

                                   14   advocate for provisions and interpretations that were most favorable to the Class. The Settlement

                                   15   went through several iterations and was carefully drafted and reviewed to protect the interests of

                                   16   the Class Members. Indeed, negotiations were hard-fought and at arm’s-length from start to

                                   17   finish. (Emma Decl. ¶ 28.)

                                   18            “‘Great weight’ is accorded to the recommendation of counsel, who are most closely

                                   19   acquainted with the facts of the litigation. This is because ‘parties represented by competent

                                   20   counsel are better positioned than courts to produce a settlement that fairly reflects each parties’

                                   21   expected outcome in the litigation’ [and] [t]hus, ‘the trial judge, absent fraud, collusion, or the

                                   22   like, should be hesitant to substitute its own judgment for that of counsel.’” Nat’l Rural Telcomms

                                   23   Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004) (citations omitted).

                                   24            Here, the Parties were represented by experienced and capable counsel who have

                                   25   8
                                          Leonard Emma and Stephen Ilg have been practicing for 16 and 8 years, respectively, and each
                                   26   of them has litigated over 25 wage and hour class action matters to a class-wide resolution.
                                        9
                                          In fact, Class Counsel declined to proceed with an earlier scheduled mediation in order to first
                                   27   obtain more discovery.
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                                    1   countinuously and zealously advocated their respective positions for nearly two and half years.

                                    2   Accordingly, “[t]here is likewise every reason to conclude that settlement negotiations were

                                    3   vigorously conducted at arms’ length and without any suggestion of undue influence.” In re

                                    4   Wash. Public Power Supply System Sec. Litig., 720 F. Supp. 1379, 1392 (D. Ariz. 1989).

                                    5                  6.      The Response of the Class to the Proposed Settlement

                                    6          Thus far, the Class has responded extremely favorably to the Settlement, further

                                    7   supporting final approval. The Ninth Circuit and other federal courts have made clear that the

                                    8   number or percentage of Class Members who object to or opt out of the settlement is a factor of

                                    9   great significance. See Mandujano v. Basic Vegetable Prods., Inc., 541 F.2d 832, 837 (9th Cir.

                                   10   1976); see also In re Am. Bank Note Holographics, Inc., 127 F. Supp. 2d 418, 425 (S.D.N.Y.
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                                   11   2001) (“[i]t is well settled that the reaction of the class to the settlement is perhaps the most
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                                   12   significant factor to be weighed in considering its adequacy”) (internal quotation marks and
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                                   13   citation omitted). “The reaction of class members to the proposed settlement, or perhaps more

                                   14   accurately the absence of a negative reaction, strongly supports settlement.” Chun-Hoon v.

                                   15   McKee Foods Corp., 716 F. Supp. 2d 848, 852 (N.D. Cal. 2010) (emphasis added).

                                   16          Indeed, the fact that zero Class Members have objected to the Settlement is a “persuasive”

                                   17   showing that the settlement is adequate. See Boyd v. Bechtel Corp., 485 F. Supp. 610, 624 (N.D.

                                   18   Cal. 1979) (objections from 16% of the class constituted a “persuasive” showing that settlement

                                   19   was adequate); Rodriguez v. West Publishing Corp., 563 F.3d 948, 967 (9th Cir. 2009) (“The

                                   20   court had discretion to find a favorable reaction to the settlement among class members given

                                   21   that, of 376,301 putative class members to whom notice of the settlement had been sent, 52,000

                                   22   submitted claims forms and only fifty-four submitted objections.”); Churchill Village, L.L.C. v.

                                   23   General Electric, 361 F.3d 566, 577 (9th Cir. 2004) (noting favorably “that only 45 of the

                                   24   approximately 90,000 notified class members objected to the settlement.”). Furthermore, zero

                                   25   Class Members submitted written exclusions to date. In addition, Class Members have expressed

                                   26   their support for the Settlement. Thus, the lack of objectors, the lack of opt-outs, and the favorable

                                   27   reaction of the Class together evidence that the Settlement Agreement is fair, adequate, and

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                                    1   reasonable.

                                    2   V.     THE PARTIES HAVE IMPLEMENTED THE COURT-APPROVED NOTICE
                                               PROGRAM AND THE SETTLEMENT ADMINISTRATOR’S FEES MAY BE
                                    3          AWARDED
                                    4          As detailed above, the Settlement Administrator is in the process of carrying out the Court-

                                    5   approved notice program, and its fees and expenses should be approved. Applicable statutory

                                    6   and case law vests the Court with broad discretion in fashioning an appropriate notice program.

                                    7   See Fed. R. Civ. P. 23(e)(1). “The class notice must be (1) reasonably calculated to apprise

                                    8   interested parties of the pendency of the action and afford them an opportunity to present their

                                    9   objections and (2) must satisfy the content requirements of Rule 23(c)(2)(B).” Mullane v. Central

                                   10   Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). As discussed above, the Settlement
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                                   11   Administrator will submit a declaration after the deadline to opt-out and object has passed.
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                                   12   VI.    CONCLUSION
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                                   13          Counsel for the Parties have committed substantial amounts of time, energy, and resources

                                   14   investigating, litigating and ultimately settling this case. In the judgment of Plaintiffs and Class

                                   15   Counsel, the proposed settlement is a fair, adequate and reasonable. The favorable reaction of

                                   16   the Class to the Settlement supports this finding.

                                   17          Accordingly, Plaintiffs respectfully request that the Court approve the Settlement and

                                   18   enter the concurrently filed [Proposed] Order Granting Final Approval to the Settlement.

                                   19
                                   20                                                 Respectfully Submitted,

                                   21   DATED: April 8, 2019                          EMMA LAW, P.C.
                                   22
                                                                                      /s/ Leonard Emma
                                   23                                                 _________________________________________
                                   24                                                 Leonard Emma, Esq.
                                                                                      Attorneys for Plaintiffs and the Class
                                   25
                                   26
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